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                              IN UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No.: Case No. 1:14-cv-02362-
  WYD

  Diana Whipple,

          Plaintiff/Movant,

  Westhill Exchange LLC,

          Defendant.


                                   NOTICE OF SETTLEMENT


         NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

  a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

  dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.


  Dated: December 16, 2014

                                               Respectfully submitted,

                                                By: __/s/ Jenny DeFrancisco_________

                                               Jenny DeFrancisco, Esq.
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on December 16, 2014, a true and correct copy of the foregoing
  Notice of Settlement was served electronically by the U.S. District Court for the District of
  Colorado Electronic Document Filing System (ECF) and that the document is available on the
  ECF system.


                                              By /s/ Jenny DeFrancisco
                                                     Jenny DeFrancisco, Esq.
